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Entered: August 6th, 2024
Signed: August 5th, 2024

SO ORDERED




                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                           Greenbelt Division


        In re:

        AMR ELRAHIMY,                                            Case No. 23-11097-LSS
                                                                 Chapter 7
                                 Debtor.


        GERARD R. VETTER
        ACTING UNITED STATES TRUSTEE
        for REGION 4                                            Adversary No.: 24-00023-LSS

                                Plaintiff,

                                 v.

        AMR ELRAHIMY

                                Defendant.


              CONSENT ORDER APPROVING AMR ELRAHIMY WAIVER OF DISCHARGE

                 UPON CONSIDERATION of Amr Elrahimy’s Waiver of Discharge, it is by the United

       States Bankruptcy Court for the District of Maryland,

                 ORDERED, that Amr Elrahimy’s Waiver of Discharge be and hereby is APPROVED; and it

       is further

                 ORDERED, that Amr Elrahimy shall not receive a discharge of debts pursuant to 11 U.S.C.
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§§ 727(a)(10); and it is further

       ORDERED, that all creditors be notified of the termination of the automatic stay as to acts

against Amr Elrahimy, individually, and nothing herein effects the automatic stay as to acts against

property of the estate.

 /s/ Lisa Yonka Stevens
 Lisa Yonka Stevens, Bar No. 27728                Amr Elrahimy,
 Trial Attorney                                   Pro se in Adversary Case 24-00023
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 Counsel for Gerard R. Vetter                     /s/ Kevin K. Shipe
 Acting United States Trustee for Region 4        Kevin K. Shipe, Bar No. 17437
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                                                  (301) 874-9030
                                                  kshipe@shipebushlaw.com
                                                  Counsel to Amr Elrahimy in Bankruptcy Case
                                                  23-11097-LSS only


        I HEREBY CERTIFY that the terms of this Consent Order Approving Amr Elrahimy’s
Waiver of Discharge submitted to the Court are identical to those set forth in the original Consent
Order Approving Amr Elrahimy’s Waiver of Discharge; and that signatures represented by the /s/
on this copy reference the signatures of consenting parties on the original Consent Order Approving
Amr Elrahimy’s Waiver of Discharge.

                                                    /s/ Lisa Yonka Stevens
                                                    Lisa Yonka Stevens
cc:
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                                      END OF ORDER
